Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 1 of 18 Pageid#: 207




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                     ABINGDON

 UNITED STATES OF AMERICA                      )
                                               )
 V.                                            ) Case No. 1:20-cr-00015
                                               )
 COLE CARINI                                   )

      UNITED STATES’ SENTENCING MEMORANDUM AND MOTION FOR
                         UPWARD VARIANCE

        Pursuant to Rule 32(i)(1)(C) of the Federal Rules of Criminal Procedure, the United

 States hereby comments on matters relating to an appropriate sentence for Cole Carini.

 According to the Presentence Investigation Report, Carini’s calculated sentencing range is

 twenty-four to thirty months. ECF No. 55 ¶ 59. The government, however, seeks a

 sentence that varies above the Guidelines range. Based on the factors set forth in 18 U.S.C.

 § 3553(a), the government recommends a prison sentence of ten years.

                                             Background

        “[Y]eah I norma[lly] have no emotion even when I should so for me to form
        a bond with another human is a big deal. Meth does get me happy and bubbly
        that’s why I got so obsessed with it because nothing else in life has an
        emotional response ex[c]ept thrills of explosions or something extre[]me.”

                 –Cole Carini, November 17, 20181

        Law enforcement first learned of Cole Carini’s infatuation with explosives on

 January 1, 2016. It was then that the Tazewell Sheriff’s Department dispatched Sergeant

 Stephen Turner to a report of an explosion in Richlands, Virginia. See Exhibit 3 at 10.


        1
            See Exhibit 1; Exhibit 2 at 4.
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 2 of 18 Pageid#: 208




 One resident reported that he had seen Cole Carini running from the scene and throwing

 something behind a building. Id. Eventually, Sergeant Turner was able to find Carini at

 his family residence. Id. at 10–11.




                                    Carini’s Family Residence

        Carini told Sergeant Turner that he had been firing a shotgun at “reactive targets”

 (also known by the brand name “Tannerite”). Id. at 11. A “reactive target” is a type of

 target that explodes when shot with a high-velocity projectile. Soon, however, it became

 apparent that Carini had not been truthful with Sergeant Turner. Id. at 11–12. After more

 questioning, Carini explained that he had not actually shot a reactive target, but that he had

 detonated it using “makeshift blasting caps” ignited by a fuze. Id. at 12. These “blasting

 caps” turned out to be metal tubes filled with gun powder. Id. at 12, 17.

        Search warrants executed at Carini’s house uncovered modified CO2 cartridges,

 fragments of a galvanized pipe, an endcap for a galvanized pipe, three tubes of Tannerite,


                                               2
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 3 of 18 Pageid#: 209




 and other items. Id. at 17. (Galvanized pipes are commonly used to make improvised

 explosive devices known as “pipe bombs.”) Ultimately, Carini pled nolo contendere to

 two counts of manufacturing explosive devices (see id. at 15), and he served probation until

 September 2019. ECF No. 55 ¶ 31.

        Before long, however, Carini’s infatuation with explosives reclaimed law

 enforcement’s attention. On June 2, 2020, Carini was taken to the hospital with amputated

 fingers and shrapnel wounds to his face and neck. See ECF No. 1 at 3; ECF No. 55 ¶ 4–5.

 When the FBI interviewed Carini about what had happened, he lied once again. Carini told

 agents that his lawn mower had flipped over and that he had fallen into the spinning blade.

 What actually happened was that Carini had accidentally detonated homemade Triacetone

 Triperoxide (“TATP”)—a high explosive—in his bedroom. When the FBI searched

 Carini’s bedroom, they found blood, flesh, shrapnel, tattered blinds, and other obvious

 signs of an explosion.




                                       Carini’s Bedroom

                                              3
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 4 of 18 Pageid#: 210




 Agents also found a large quantity of TATP, a box of rusty nails, a pouch of BBs, extensive

 writings and drawings relating to explosives, PVC pipes, fuzing, and instructions for

 making TATP and Hexamethylene Triperoxide Diamine (“HMTD”—another high

 explosive).




               Instructions for Making HMTD and TATP on the Wall Above Carini’s Bed




                   A Diagram of an Explosive Device in One of Carini’s Notebooks

                                                4
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 5 of 18 Pageid#: 211




                     A Diagram of a Pressure Cooker Explosive Device




                                      Pouch of BBs




                                           5
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 6 of 18 Pageid#: 212




                                    Contents of Pouch of BBs

 Elsewhere, agents found more PVC pipes, loose wires, empty peroxide containers, and the

 modified pressure-cooker device that is at the center of this case.




                                    Pressure Cooker Device

 In a shed near the house, agents found a makeshift lab for synthesizing explosive materials.



                                               6
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 7 of 18 Pageid#: 213




                                Inside of Shed, Showing Hotplate

 Also in the shed, agents found a scrap of paper that described someone armed with “deadly

 objects” approaching cheerleaders and “passing the point of no return.” The writing

 concluded: “He decided I will not back down I will not be afraid of con[se]quences no

 matter what I will be heroic I will make a statement like Elliot Rodgers.”




                            Portion of Note Referring to Elliot Rodger

                                                7
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 8 of 18 Pageid#: 214




 Elliot Rodger was a twenty-three-year-old mass murderer who, in 2014, killed six people

 and injured fourteen others by gunshot, stabbing, and vehicle-ramming.

                 Examination of Items Seized from Carini’s Residence

       After collecting evidence from Carini’s residence, the FBI sent them off for

 analysis. FBI Forensic Examiner Jack Barrow, Ph.D., determined that the collected items

 included five partially constructed Improvised Explosive Devices (“IEDs”), materials

 necessary to fully construct IEDs, and drawings and descriptions of IED construction. See

 generally Exhibit 4. Device #1 was the pressure-cooker device described in the Indictment,

 which Carini had sealed with hardware and loaded with TATP and BBs. Dr. Barrow is

 expected to testify that Carini’s device was like the devices used in the Boston Marathon

 bombing of April 2013, but that Carini’s device could have been far more destructive.




               Device #1—Pressure Cooker Device Showing BBs and Pipe Placement

                                             8
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 9 of 18 Pageid#: 215




                                   X-Ray Image of Device #1

 Device #2 was a large PVC pipe with a “priming hole” drilled in the side. Priming holes

 are used to incorporate fuzing into explosive devices.




                            Device #2—PVC Pipe with Priming Hole


                                              9
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 10 of 18 Pageid#: 216




                           Carini’s Drawing of Priming Hole in Cylinder

       Device #3 was a plastic container containing HMTD residue, fitted with a partial

 electric-fuzing system.




                     Device #3—Container with Partial Electric Fuzing System



                                               10
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 11 of 18 Pageid#: 217




 This particular device was designed to use a battery or other electricity-source to pass

 current through a thin-gauge “bridge wire” that would heat up and detonate an explosive

 material.




                        X-Ray Image of Device #3 Showing “Bridge Wire”

 Device #4 was another PVC pipe with a partial electric-fuzing system.




                 Device #4—Wrapped PVC Pipe with Partial Electric Fuzing System



                                              11
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 12 of 18 Pageid#: 218




 Device #5 was a plastic jar wrapped in multiple layers of transparent tape, electrical tape,

 and foil tape.




                                Device #5, Partially Disassembled

 The device contained TATP and two paper pouches. One of the pouches contained a low-

 explosive mixture of potassium chlorate and a starch-like fuel.

        Aside from those five devices, Dr. Barrow also examined the remnants of IEDs

 seized from Carini’s residence.




                                   CPVC Pipe with Blast Damage

                                               12
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 13 of 18 Pageid#: 219




 During his examination, Dr. Barrow also identified ammonium nitrate (another component

 used to make explosive material for IEDs), sulfur, nails, BBs, and fuzes. In addition, Dr.

 Barrow noted that Carini’s drawings and handwritten descriptions were sophisticated, and

 that they described fuzing circuits with remote initiation, pressure-cooker IEDs, pipe-bomb

 IEDs, explosive precursor lists, explosive recipes, terrorist events, military munitions, a

 950-kilogram “barrel bomb,” and large vehicle bombs.

                                Cole Carini’s Social Media

        During the investigation, the FBI also examined Carini’s Facebook account. The

 examination revealed that Carini frequently used Facebook Messenger to talk with others

 about his obsession with explosives. See Exhibit 2. He referred to his experimentation

 with explosives as “science,” and he devoted a large amount of time, energy, and money

 to his “science.” He also performed more than a dozen Facebook searches for explosives,

 and he exchanged photos and videos of explosives with others. In May 2019, Carini

 described an incident at a parade, where a bomb-sniffing dog had detected traces of

 explosives on Carini. Carini escaped further investigation by telling the dog’s handler that

 he had simply been working with fertilizer.

                               Events Since Carini’s Arrest

        For the past few years, Carini has been romantically involved with a woman named

 Jaime Keen. During the investigation, Keen told agents that she and Carini frequently took

 drugs together and that she cared deeply for him. After Carini was arrested and taken to




                                               13
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 14 of 18 Pageid#: 220




 jail, Keen and Carini communicated with one another through phone and video calls, email,

 and letters.

        During a video call in September 2020, Carini asked Keen to send drugs into the

 jail via hand-written letters. Keen told Carini about making drug-laced letters to mail to

 Carini, but she explained that she could not make them as well as Carini had made them in

 the past. During an FBI interview, Keen admitted to making a methamphetamine-laced

 letter, but claimed she did not send it to Carini. However, on September 14, 2020, during

 another video call, Keen and Carini made several references to the letter. Carini asked her

 how much methamphetamine the letter contained, and Keen told Carini it contained $60

 worth and suggested that, at first, he only use the top half of the letter. Keen also told

 Carini that she mailed the letter on September 10, 2020, that he should receive it any day,

 and that Keen would mail him another letter containing more drugs the next morning.

                                        Discussion

        When sentencing Carini, the Court must consider the need for the sentence imposed

 to reflect the seriousness of the offense, promote respect for the law, provide just

 punishment for the offense, afford adequate deterrence to criminal conduct, and protect the

 public from further crimes of the defendant. 18 U.S.C. § 3553(a). In addition, the Court

 must consider the nature and circumstances of the offense and Carini’s history and

 characteristics. Id.

        In this case, an analysis of the § 3553(a) sentencing factors shows that a ten-year

 sentence is warranted. That sentence would appropriately reflect the seriousness of the



                                             14
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 15 of 18 Pageid#: 221




 offense and the nature and circumstances of the offense, protect the public, account for

 Carini’s history and characteristics, and afford adequate deterrence.

        First, this was a serious offense, and the nature and circumstances of the offense are

 profoundly troubling. Carini’s pressure-cooker device was similar to—but potentially

 more destructive than—the devices used in the Boston Marathon bombing that killed three

 people and injured hundreds of others. Were it not for the accidental explosion in Carini’s

 bedroom, Carini’s obsession with explosives could have resulted in a truly horrific event.

 Importantly, this was not an isolated incident or an aberration in Carini’s behavior. Carini

 also constructed several other IEDs and synthesized high-explosives that he could have

 employed in any number of grim scenarios.          A ten-year sentence would reflect the

 seriousness, the nature, and the circumstances of Carini’s crime, while a sentence within

 the guidelines range of twenty-four to thirty months would not.

        Second, Carini’s history and characteristics weigh in favor of a ten-year sentence.

 Carini spent a great deal of time, energy, and money on his explosives “science.” He

 synthesized explosive chemicals, constructed multiple IEDs, and recorded his disturbed

 thoughts and plans in extensive writings and drawings. This is the second time in Carini’s

 young life that he has been in trouble with the law for making explosive devices, and the

 second time he has tried to lie his way out of the situation. To Carini, explosions are akin

 to a methamphetamine high:

        I norma[lly] have no emotion even when I should so for me to form a bond
        with another human is a big deal. Meth does get me happy and bubbly that’s
        why I got so obsessed with it because nothing else in life has an emotional
        response ex[c]ept thrills of explosions or something extre[]me.


                                              15
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 16 of 18 Pageid#: 222




 Exhibit 1. And methamphetamine’s hold on Carini is so strong that it led him to enlist

 Keen’s help in delivering methamphetamine-laced letters into jail. These facts go to

 Carini’s history and characteristics, and they also demonstrate the need to protect the public

 from further crimes by Carini for as long as possible. There is no reason to believe that

 Carini’s addictions have abated.

        Finally, a ten-year sentence would provide a deterrent effect. There is a compelling

 need to deter Carini and other like-minded individuals from engaging in this sort of

 conduct.     A ten-year sentence would appropriately satisfy that need.        Deterrence is

 particularly important in cases like this one because of the human consequences that result

 when a person maliciously employs a destructive device. To the extent possible, the Court

 should endeavor to deter Carini, and others, from making “a statement like Elliot

 Rodger[].”

                                         Conclusion

        The government asks the Court to sentence Carini to prison for ten years.

        Date: June 21, 2021
                                            Respectfully submitted,

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                                            Acting United States Attorney

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                                              16
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 17 of 18 Pageid#: 223




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                                      17
Case 1:20-cr-00015-JPJ-PMS Document 57 Filed 06/21/21 Page 18 of 18 Pageid#: 224




                                    CERTIFICATE

       I hereby certify that I caused a true and correct copy of the foregoing to be filed

 using CM/ECF which will deliver notice and a copy of such filing to counsel for the

 defendant.

       Date: June 21, 2021.

                                                s/ Whitney D. Pierce
                                                Whitney D. Pierce
                                                Assistant United States Attorney
